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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 14, 2017:


       MINUTE entry before the Honorable Joan B. Gottschall: A status conference is set
for February 17, 2017, at 9:30 a.m., at which the parties will have an opportunity to
address the issues raised in this order. [See separate order].Mailed notice(mjc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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